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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK
                              BINGHAMTON DIVISION


William A. Jacobson, on behalf of himself and others
similarly situated,                                        Civil Action No. 3:22-cv-
                                                           00033-MAD-ML
       Plaintiff,
v.
Mary T. Bassett, in her official capacity as Acting
Commissioner of the New York Department of Health,
       Defendant.



 BRIEF OF NATIONAL BIRTH EQUITY COLLABORATIVE, NATIONAL MEDICAL
  ASSOCIATION, AMERICAN MEDICAL ASSOCIATION, MEDICAL SOCIETY OF
THE STATE OF NEW YORK, AMERICAN COLLEGE OF PHYSICIANS, AMERICAN
     PUBLIC HEALTH ASSOCIATION, COUNCIL OF MEDICAL SPECIALTY
     SOCIETIES, NEW YORK STATE ACADEMY OF FAMILY PHYSICIANS,
 COMMUNITY SERVICE SOCIETY OF NEW YORK, HOUSING WORKS, CALLEN-
LORDE COMMUNITY HEALTH CENTER, PARTNERS IN HEALTH, AND MEDICAL
AND HEALTH EQUITY PROFESSIONALS AND ACADEMICS AS AMICI CURIAE IN
OPPOSITION TO PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION AND
            IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS


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                        CORPORATE DISCLOSURE STATEMENT

       National Birth Equity Collaborative is a non-profit entity and has no parent corporation.

No publicly owned corporation owns 10% or more of the stocks of NBEC.

       National Medical Association is a non-profit entity and has no parent corporation. No

publicly owned corporation owns 10% or more of the stocks of NMA.

       American Medical Association is a non-profit entity and has no parent corporation. No

publicly owned corporation owns 10% or more of the stocks of AMA.

       Medical Society of the State of New York is a non-profit entity and has no parent

corporation. No publicly owned corporation owns 10% or more of the stocks of MSSNY.

       American College of Physicians is a non-profit entity and has no parent corporation. No

publicly owned corporation owns 10% or more of the stocks of ACP.

       American Public Health Association is a non-profit entity and has no parent corporation.

No publicly owned corporation owns 10% or more of the stocks of APHA.

       Council of Medical Specialty Societies is a non-profit entity and has no parent corporation.

No publicly owned corporation owns 10% or more of the stocks of CMSS

       New York State Academy of Family Physicians is a non-profit entity and has no parent

corporation. No publicly owned corporation owns 10% or more of the stocks of NYSAFP.

       Community Service Society of New York is a non-profit entity and has no parent

corporation. No publicly owned corporation owns 10% or more of the stocks of CSSNY.

       Housing Works is a non-profit entity and has no parent corporation. No publicly owned

corporation owns 10% or more of the stocks of Housing Works.

       Callen-Lorde Community Health Center is a non-profit entity and has no parent

corporation. No publicly owned corporation owns 10% or more of the stocks of Callen-Lorde.




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       Partners in Health is a non-profit entity and has no parent corporation. No publicly owned

corporation owns 10% or more of the stocks of Partners in Health.




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   Invisible, Newsday (Nov. 17, 2019) ........................................................................................10

Matthew Wynia et al., Collecting and using race, ethnicity and language data in
   ambulatory settings: A white paper with recommendations from the
   Commission to End Health Care Disparities, Comm'n to End Health Care
   Disparities (2011), https://bit.ly/3omfD6R ..........................................................................6, 18

Brandon W. Yan, Death Toll of COVID-19 on Asian-Americans: Disparities
   Revealed, 36 J. Gen. Internal Med. 3545 (2021), doi.org/10.1007/s11606-021-
   07003-0 ......................................................................................................................................3


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Xingyu Zhang et al., Racial and Ethnic Disparities in Emergency Department Care
   and Health Outcomes Among Children in the United States, Frontiers in
   Pediatrics, Dec. 19, 2019, doi.org/10.3389/fped.2019.00525..................................................19




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                                        INTRODUCTION

       Amici are leading medical, health equity, and social science experts as well as organizations

with direct experience on the frontlines of the COVID-19 pandemic, including in New York. Amici

submit this brief to underscore the substantial medical and scientific literature that supports the

New York Department of Health’s acknowledgment that “longstanding systemic health and social

inequities have contributed to an increased risk of severe illness and death from COVID-19” for

people of “[n]on-white race or Hispanic/Latino ethnicity.” 1 Although race is not an inherent

genetic or biological trait and therefore does not genetically contribute to a higher risk of medical

conditions, there is no serious medical or public health dispute that longstanding systemic health

and social factors have led to a disproportionately higher burden of COVID-19, including

exposure, infection, severe illness and death, among populations marginalized and minoritized by

systems and structures, including Black, Native American, Indigenous, Latinx, Asian American,

Pacific Islander American, and people of color (BIPOC individuals). 2 Amici further submit this

brief to outline for the Court the existing inequities in access to prevention, care, and treatment for

COVID-19 that show that the public interest supports the Department’s non-binding guidance that

medical professionals, in exercising their independent clinical judgment and discretion, consider a

COVID-19 patient’s BIPOC race or ethnicity alongside other relevant factors when evaluating a




1
  N.Y. State Dep’t of Health, Prioritization of Anti-SARS-CoV-2 Monoclonal Antibodies and Oral
Antivirals for the Treatment of COVID-19 During Times of Resource Limitations, at 3 (Dec. 29,
2021) [hereinafter Prioritization Guidance]; N.Y. State Dep’t of Health, Memorandum Re:
COVID-19 Oral Antiviral Treatments Authorized and Severe Shortage of Oral Antiviral and
Monoclonal Antibody Treatment Products 3 (Dec. 27, 2021) (“[L]ongstanding systemic health and
social inequities put Black, Indigenous, and People of Color at increased risk of severe COVID-
19 outcomes and death.”).
2
  As used in this brief, BIPOC is meant to refer to populations and individuals with races and
ethnicities that have been historically minoritized and marginalized by systems and structures.


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COVID-19 patient’s risk of progressing to severe illness.

                                          ARGUMENT

I.     Minoritized populations are at heightened vulnerability to severe illness and death
       from COVID-19.

       For two years, the COVID-19 pandemic has wreaked havoc in communities across the

country, upended the lives of countless families, and killed more than 68,000 New Yorkers. 3

Although the COVID-19 pandemic has taken a toll on all New Yorkers, it has disproportionately

impacted minoritized populations. For example, Latinx populations have experienced higher rates

of SARS-CoV-2 infection than white populations, and BIPOC populations have experienced

higher rates of severe COVID-19 symptoms, serious illness requiring hospitalization, and death

from COVID-19 than whites.

       A.      Minoritized populations have experienced disproportionately high rates of
               serious illness and death from COVID-19.

       Minoritized populations have experienced disproportionately high rates of death from

COVID-19. 4 Based on data collected through March 7, 2021, Black individuals have died from

COVID-19 at 1.4 times the rate of white individuals. 5 One study found that, among individuals

aged 25–54, the Black and Latinx populations lost nearly 7 times, and the Indigenous population

lost nearly 9 times, as many years of life before age 65 from COVID-19 as the white population. 6

“[W]hile Asian Americans make up a small proportion of COVID-19 deaths in the USA, they



3
  N.Y. State Dep’t of Health, COVID-19 Fatalities Tracker, on.ny.gov/3HlNh4j (last visited Feb.
23, 2022).
4
  See, e.g., Zirui Song et al., Racial and Ethnic Disparities in Hospitalization Outcomes Among
Medicare Beneficiaries During the COVID-19 Pandemic, JAMA Health Forum, Dec. 23, 2021,
doi.org/10.1001/jamahealthforum.2021.4223
5
    COVID Tracking Project, The Atlantic, The COVID Racial Data Tracker,
https://bit.ly/3KZDOSk (last visited Feb. 23, 2022).
6
  Mary T. Bassett et al., Variation in racial/ethnic disparities in COVID-19 mortality by age in the
United States: A cross-sectional study, PLOS Med., Oct. 20, 2020, at 10, bit.ly/3v1xHYk.


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experience significantly higher excess all-cause mortality (3.1 times higher), case fatality rate (as

high as 53% higher), and percentage of deaths attributed to COVID-19 (2.1 times higher)

compared to non-Hispanic Whites.” 7 The disproportionately higher mortality rates for BIPOC

people remain even after accounting for differences in level of education. 8 The inequity is stark:

       If all groups had experienced the same mortality rates as college-educated non-
       Hispanic White individuals, there would have been 48% fewer COVID-19 deaths
       among adults aged 25 years or older overall, including 71% fewer deaths among
       racial and ethnic minority populations and 89% fewer deaths among racial and
       ethnic minority populations aged 25 to 64 years. 9

       In New York State, according to a 2020 study, Black individuals comprised 16% of the

population but made up 22% of COVID-19 deaths statewide; 10 Latinx individuals comprised 19%

of state residents, but made up 24% of statewide COVID-19 deaths. 11 By contrast, whites

comprised 55% of New York State’s population, but made up 43% of statewide COVID-19

deaths. 12 According to recent data from New York State, the COVID-19 death rate for whites has

been 155 per 100,000, whereas the death rates for Asian American, Black, and Latinx people has

been 186, 349, and 269 per 100,000, respectively. 13 Outside of New York City, the age-adjusted

death rate “is double or even quadruple for [Black], Latinx, and Asian New Yorkers” relative to




7
  Brandon W. Yan, Death Toll of COVID-19 on Asian-Americans: Disparities Revealed, 36 J. Gen.
Internal Med. 3547, 3545 (Aug. 4, 2021), doi.org/10.1007/s11606-021-07003-0.
8
  Justin M. Feldman & Mary T. Bassett, Variation in COVID-19 Mortality in the US by Race and
Ethnicity and Educational Attainment, JAMA Network, Nov. 23, 2021, at 1, bit.ly/3sirmVs.
9
  Id.
10
    Laurens Holmes Jr. et al., Black–White Risk Differentials in COVID-19 (SARS-COV2)
Transmission, Mortality and Case Fatality in the United States: Translational Epidemiologic
Perspective and Challenges, 17 Int’l J. Env’t Rsch. & Pub. Health 4322, 4328 (2020),
doi.org/10.3390/ijerph17124322.
11
   Id.
12
   Id.
13
   COVID-19 Health Equity Interactive Dashboard, Emory University, COVID-19 Outcomes in
New York, covid19.emory.edu/36 (last visited Feb. 23, 2022).


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white New Yorkers. 14 In fact, after adjusting for age, New York is the state with the highest

COVID-19 mortality rate among its Black residents. 15

        Indeed, from the earliest days of the COVID-19 pandemic, minoritized individuals have

been disproportionately impacted. In New York City, the initial epicenter of the pandemic, the

COVID-19 case rates in majority Black, Latinx, and other communities marginalized by systems

and structures was between 24% and 110% higher than those in majority white communities16

before leveling out, although Latinx communities still experience significantly higher infection

rates than whites. 17

        More significantly, BIPOC people experience disproportionately higher rates of severe

illness from COVID-19. 18 As of March 2021, the COVID-19 hospitalization rate of Asian

Americans, Latinx, and Black New Yorkers was 2.5, 3.8, and 4.2 times that of white New Yorkers,

respectively. 19 One study found BIPOC people experience higher rates of COVID-19 disease



14
   Amanda Dunker & Elisabeth Ryden Benjamin, How Structural Inequalities in New York’s
Health Care System Exacerbate Health Disparities During the COVID-19 Pandemic: A Call for
Equitable Reform, Cmty. Serv. Soc’y (June 4, 2020), bit.ly/3KZ7JtZ.
15
   APM Research Lab, The Color of Coronavirus: COVID-19 Deaths by Race and Ethnicity in the
U.S. (Mar. 15, 2021), bit.ly/3uqm5NU.
16
   D. Phuong Do & Reanne Frank, Unequal burdens: assessing the determinants of elevated
COVID-19 case and death rates in New York City’s racial/ethnic minority neighbourhoods, 75 J.
Epidemiology & Cmty. Health 321, 323 (Mar. 10, 2021), bit.ly/3GFw4kU.
17
      NYC Health, COVID-19: Data, Case, Hospitalization, and Death Rates,
https://on.nyc.gov/3BHGPT5 (last accessed Feb. 23, 2022).
18
   See, e.g., Anna M. Acosta et al., Racial and Ethnic Disparities in Rates of COVID-19–Associated
Hospitalization, Intensive Care Unit Admission, and In-Hospital Death in the United States From
March 2020 to February 2021, JAMA Network, Oct. 21, 2021, bit.ly/36otGCW.
19
    See COVID Tracking Project, The Atlantic, New York: All Race & Ethnicity Data,
bit.ly/3sxag62 (last visited Feb. 23, 2022). Two studies found that the Black COVID-19 patients
did not experience worse outcomes from COVID-19 than white patients. See Gbenga Ogedegbe
et al., Assessment of Racial/Ethnic Disparities in Hospitalization and Mortality in Patients With
COVID-19 in New York City, JAMA Network Open, Dec. 4, 2020, at 2, bit.ly/3uRdjZB; Rafi
Kabarriti et al., Association of Race and Ethnicity With Comorbidities and Survival Among
Patients With COVID-19 at an Urban Medical Center in New York, JAMA Network Open, Sept.



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severity upon admission to a hospital compared with whites, which increases the likelihood of

needing intubation or ICU care, and death. 20

       B.      Minoritized populations have disproportionately higher rates and severity of
               medical conditions that increase the risk of developing severe COVID-19
               symptoms.

       Heart disease and diabetes are two of the most common underlying medical conditions that

the U.S. Centers for Disease Control and Prevention (CDC) has recognized place patients with

COVID-19 at increased risk for severe illness or death, 21 and these diseases disproportionately

affect BIPOC individuals, including in New York. 22 BIPOC people also experience higher rates

of undiagnosed medical conditions (including diabetes), 23 thus increasing the likelihood of having

a risk factor that goes undetected. And among people diagnosed with medical conditions such as

diabetes or heart disease, BIPOC people experience higher rates of more severe cases, disease-




25, 2020, doi.org/10.1001/jamanetworkopen.2020.19795. These studies were limited to individual
hospitals; recognized the disparate hospitalization and mortality rates for Black COVID-19
patients in other studies; and proposed explanations for their unexpected results, such as
differential COVID-19 testing or rates of insurance.
20
   CDC, Risk of Severe Illness or Death from COVID-19, bit.ly/3ghKDAI (updated Dec. 10, 2020);
see also Nicholos P. Joseph et al., Racial and Ethnic Disparities in Disease Severity on Admission
Chest Radiographs among Patients Admitted with Confirmed Coronavirus Disease 2019: A
Retrospective Cohort Study, 297 Radiology E303 (2020), bit.ly/3BuxQV6; Shruti Magesh et al.,
Disparities in COVID-19 Outcomes by Race, Ethnicity, and Socioeconomic Status: A Systematic
Review and Meta-analysis, JAMA Network, Nov. 11, 2021, bit.ly/3uTFkQk.
21
   See CDC, People with Certain Medical Conditions, bit.ly/3IUxx8D (updated Feb. 15, 2022);
Erin K. Stokes et al., Coronavirus Disease 2019 Case Surveillance - United States, January 22-
May 30, 2020, 69 MMWR 759 (2020), https://bit.ly/3gVs4Cv.
22
   CDC, Prevalence of Both Diagnosed and Undiagnosed Diabetes, bit.ly/3s3Xiwu (last reviewed
Dec. 29, 2021); Gbenga Ogedegbe et al., supra note 19; Kamyar Arasteh, Prevalence of
Comorbidities and Risks Associated with COVID-19 Among Black and Hispanic Populations in
New York City: An Examination of the 2018 New York City Community Health Survey, 8 J. Racial
& Ethnic Health Disparities 863–69 (2021), doi.org/10.1007/s40615-020-00844-1; Pub. Health L.
Watch, COVID-19 Policy Playbook: Legal Recommendations for a Safer, More Equitable Future,
at 12 (Scott Burris et al. eds., 2021), bit.ly/3L0KCz6 [hereinafter COVID-19 Policy Playbook].
23
   See CDC, Prevalence of Both Diagnosed and Undiagnosed Diabetes, supra note 22.


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related complications, and premature death from those diseases, than their white counterparts.24

Consistent with this evidence, a study found that “racial disparities in COVID-19 outcomes exist

despite comparable ECIs [comorbidities] among” patients. 25 The researchers calculated that Black

patients in the sample had 1.72 times the odds of invasive ventilator dependence than white

patients, and Indigenous patients had 2.06 times the odds of death than white patients. 26

       C.      Black and Latinx people have disproportionately higher rates of certain
               COVID-19-related complications.

       Studies have found that Black and Latinx people experience higher rates of certain serious

COVID-19 related complications than white individuals. For example, according to one study of

several hospitals in and around New York City, 37% of patients hospitalized for COVID-19

develop acute kidney injury, which significantly increases the likelihood of death. 27 The study

further found that Black patients were more likely than white patients to develop acute kidney

injury. 28 Similarly, studies conducted in both New York City and New York State found that more

than 70% of all reported cases of multisystem inflammatory syndrome in children—“a rare but

severe condition that occurs approximately 2–4 weeks after the onset of COVID-19 in children


24
   See Shirley A. Hill, Inequality and African-American Health: How Racial Disparities Create
Sickness 11, 60 (2016) [hereinafter Inequality and African-American Health]; Dayna Bowen
Matthew, Just Medicine: A Cure for Racial Inequality in American Healthcare 57 (2015)
[hereinafter Just Medicine]; Matthew Wynia et al., Collecting and using race, ethnicity and
language data in ambulatory settings: A white paper with recommendations from the Commission
to End Health Care Disparities, Comm’n to End Health Care Disparities, at 6–7 (2011),
bit.ly/3omfD6R; Ctrs. for Medicare & Medicaid Servs. (CMS), Racial and Ethnic Disparities in
Diabetes Prevalence, Self-Management, and Health Outcomes among Medicare Beneficiaries, at
1–2, 9–11 (2017), go.cms.gov/3s2Ettq.
25
    Fares Qeadan et al., Racial disparities in COVID-19 outcomes exist despite comparable
Elixhauser comorbidity indices between Blacks, Hispanics, Native Americans, and Whites,
Scientific Reports, Apr. 22, 2021, at 6, doi.org/10.1038/s41598-021-88308-2.
26
   Id.
27
    CDC, Disparities in Hospitalizations, bit.ly/3ufveJj (last updated Feb. 16, 2022); Jamie S.
Hirsch et al., Acute kidney injury in patients hospitalized with COVID-19, 98 Kidney Int’l 209,
210, 211 (2020), bit.ly/3sO3ZTP.
28
   Jamie S. Hirsch et al., supra note 27, at 213.


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and adolescents”—have occurred among Black or Latinx children. 29

II.    The higher rates of severe symptoms and death from COVID-19 experienced by
       minoritized people are tied to systemic racism and bias, and are not accounted for
       by other observable risk factors.

       Extensive literature provides two well-supported explanations for the racial and ethnic

inequities in COVID-19 case severity and mortality. First, the legacy of this country’s long history

of racist policies—such as segregation and persistent inequities in housing, employment, access to

healthcare, health care, and other life opportunities—has led to adverse health outcomes for racial

and ethnic groups historically marginalized by systems and structures. 30 Social factors, known as

“social determinants of health,” and systemic factors such as exposure to racism, are both “social

drivers of health,” which establish that societal conditions can—and do—affect an individual’s

health risk. 31 Second, racism and implicit bias within the medical system has resulted in lower

quality healthcare for BIPOC individuals. 32 Crucially, these systemic inequities manifest in an

increased risk of developing severe COVID-19 symptoms relative to whites—a risk that is not

captured by other immediately observable information such as age, vaccination status, and

presence of underlying medical conditions. 33




29
   CDC, Disparities in Hospitalizations, supra note 27.
30
    See, e.g., CDC, Health Equity Considerations and Racial and Ethnic Minority Groups,
bit.ly/3giQc1z (last updated Jan. 25, 2022); Paula Braveman et al., What is Health Equity?, Robert
Wood Johnson Found. (May 1, 2017), rwjf.ws/3Gkedjx; Rima A. Afifi et al., ‘Most at risk’ for
COVID19? The imperative to expand the definition from biological to social factors for equity,
139 Preventive Med. 106229 (2020), bit.ly/3oYJPFx.
31
   See CDC, Social Determinants of Health: Know What Affects Health, bit.ly/3IWQXd3 (last
reviewed Sept. 30, 2021).
32
   See Kevin B. O’Reilly, AMA: Racism is a threat to public health, Am. Med. Ass’n (AMA) (Nov.
16, 2020), bit.ly/35xEoGE.
33
   See Rima A. Afifi et al., supra note 30, at 2 (“Fundamental social causes of disease mobilize
pathways to morbidity and mortality that . . . exacerbate consequences of COVID19 . . . .”);
Benjamin Seligman et al., Social determinants of mortality from COVID-19: A simulation study
using NHANES, PLOS Med., Jan. 11, 2021, bit.ly/3ITbxek; see also infra note 84.


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       A.      Social drivers of health caused the COVID-19 pandemic to disproportionately
               harm minoritized populations.

       The COVID-19 pandemic’s disparate impact is neither novel nor a coincidence. Racial and

ethnic disparities in health outcomes are well documented. For example, Black individuals “are

three times as likely as whites to develop cardiovascular disease and are twice as likely to die from

it.” 34 In 2017, the rate of asthma deaths among adults aged 65 and older was significantly higher

for Black Americans, Asian Americans, and Pacific Islander Americans than for whites. 35 And

Black women are nearly three times as likely as white women to die from pregnancy-related

complications. 36 Inequities in health outcomes persist “even when access-related factors, such as

patients’ insurance status and income, are controlled.” 37 To illustrate, a study found that “[t]he

PRMR [pregnancy-related mortality ratio] among black women with a completed college

education or higher was 1.6 times that of white women with less than a high school diploma.” 38 It

is crucial to note that “these disparities do not arise from bad individual choices or biological

differences between races but the social factors that shape people’s lives every day . . . . We as a

society have created them.” 39


34
   Just Medicine, supra note 24, at 57; see also Inequality and African-American Health, supra
note 24, at 11.
35
    Off. Disease Prevention & Health Promotion, Asthma deaths among adults (per million
population, 65+ years) By Race/Ethnicity, https://bit.ly/3geCooT (last updated Feb. 6, 2022).
36
   CDC, Pregnancy Mortality Surveillance System, bit.ly/3ohnWB5 (last reviewed Nov. 25, 2020).
37
   Inst. of Med., Unequal Treatment: Confronting Racial and Ethnic Disparities in Health Care 1
(2003), doi.org/10.17226/10260 [hereinafter Unequal Treatment]; see also Inequality and African-
American Health, supra note 24, at 22.
38
   Emily E. Petersen et al., Racial/Ethnic Disparities in Pregnancy-Related Deaths — United
States, 2007–2016, 68 MMWR 762, 763 (2019), https://bit.ly/3BD2UCs.
39
   COVID-19 Policy Playbook, supra note 22, at 7; see also Yin Paradies, A systematic review of
empirical research on self-reported racism and health, 35 Int’l J. Epidemiology 888, 888 (2006),
bit.ly/3IX87qS (“The manifestations of racism vary considerably across time and place but in
general ensue from societal systems that produce an unequal distribution of power (and hence
resources) in societies based on the notion of ‘race’, where race is a social rather than a biological
construct related to the notion of essentialized innate phenotypical, ancestral, and/or cultural



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        Numerous social drivers of health have historically prevented people of color, and Black

individuals in particular, from having the same opportunities to attain good physical health as white

individuals. 40 Inequitable living, working, and other life conditions can negatively impact an

individual’s health in obvious ways. Living in heavily polluted areas may worsen one’s asthma,

for example. 41

        Across all social drivers of health, however, stress is a primary pathway for disparate health

outcomes. Racism, discrimination, and inequitable living circumstances can cause chronic stress,

which is linked to a wide array of poor health outcomes through various psychophysiological

pathways. 42 Chronic stress “degrades physiological systems,” resulting in “greater susceptibility

to pathogens” and decreased “effectiveness of the immune system and resistance to infections,

leading to serious illnesses.” 43 Researchers “have documented a direct link between social stress

and sickness, with stressful life events predicting illnesses as serious as heart disease.”44

Researchers have similarly documented an association between chronic stress and elevated blood

pressure. 45



difference.”); Unequal Treatment, supra note 37, at 1 (“The sources of these disparities are
complex, are rooted in historic and contemporary inequities, and involve many participants at
several levels . . . .”).
40
   CDC, Health Equity Considerations and Racial and Ethnic Minority, supra note 30.
41
   Anthony Nardone et al., Associations between historical residential redlining and current age-
adjusted rates of emergency department visits due to asthma across eight cities in California: an
ecological study, 4 Lancet Planet Health e24, e28 (2020), bit.ly/3rjYeh1.
42
   David R. Williams & Selina A. Mohammed, Discrimination and racial disparities in health:
evidence and needed research, 32 J. Behav. Med. 20, 37 (2009), doi.org/10.1007/s10865-008-
9185-0; Camara Jules P. Harrell et al., Multiple Pathways Linking Racism to Health Outcomes, 8
Du Bois Rev. 143, 143 (2011), bit.ly/3Bw8pCE; Inequality and African-American Health, supra
note 24, at 5.
43
   Inequality and African-American Health, supra note 24, at 74.
44
   Id. at 16.
45
   See, e.g., Kosuke Inoue et al., Urinary Stress Hormones, Hypertension, and Cardiovascular
Events: The Multi-Ethnic Study of Atherosclerosis, 78 Hypertension 1640 (2021), bit.ly/3ITeQ5e;



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              i.   Racially segregated communities as a social driver of health.

       Living in a racially segregated community is a prime example of a negative social

determinant of health. Poverty is concentrated in racially segregated areas, 46 and poverty is linked

to adverse health outcomes. Children who live in poverty are “two to four times more likely to

have a disease than children who do not.” 47 Housing in segregated communities is

disproportionately poorer quality and more crowded. 48 Racially segregated neighborhoods also

have lower quality schools, another factor linked to adverse health outcomes. 49 Segregation has

also been linked to later-stage diagnosis of cancers and lower cancer survival rates. 50 New York

City is one of the most racially segregated metropolitan areas in the country. Most of Long Island’s

Black residents live in just 11 of the island’s 291 communities. 51 And almost 90% of Brooklyn’s

Black residents live in segregated neighborhoods. 52 As discussed further below, access to

healthcare services is also restricted in racially segregated neighborhoods.

             ii.   Access to healthcare as a social driver of health.

       Communities of color experience disproportionately low access to healthcare services

compared to white Americans. One study found that “[c]ommunities with high proportions of

[B]lack and Hispanic residents were four times as likely as others to have a shortage of physicians,


Tanya M. Spruill, Chronic Psychosocial Stress and Hypertension, 12 Current Hypertension Reps.
10 (2010), bit.ly/3oeBBc8; Akilah Johnson & Nina Martin, How COVID-19 Hollowed Out a
Generation of Young Black Men, ProPublica (Dec. 22, 2020), bit.ly/3ohfJgc.
46
   Douglas S. Massey & Mary J. Fischer, How segregation concentrates poverty, 23 Ethnic &
Racial Stud. 670, 671 (2000), bit.ly/3IUXbu3.
47
   Inequality and African-American Health, supra note 24, at 159.
48
   Id.; CDC, Health Equity Considerations and Racial and Ethnic Minority Groups, supra note 30.
49
   Paula Braveman et al., supra note 30, at 5.
50
   David R. Williams et al., Racism and Health: Evidence and Needed Research, 40 Ann. Rev.
Pub. Health 105, 108 (2019), doi:10.1146/annurev-publhealth-040218-043750.
51
   Olivia Winslow, Long Island Divided Part 10: Dividing Lines, Visible and Invisible, Newsday
(Nov. 17, 2019), bit.ly/34ug7AG.
52
    Themis Chronopoulos, “What’s Happened to the People?” Gentrification and Racial
Segregation in Brooklyn, 24 J. African-Am. Studs. 549, 570 (2020), bit.ly/3L90D6m.


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regardless of community income.” 53 In New York, numerous policies over the past several decades

have resulted in underfunded and under-resourced hospital systems in communities of color. 54 For

example, when the state “cut thousands of hospital beds” in 2016, a disproportionate number were

in communities that served people of color and underinsured individuals, exacerbating the

COVID-19 pandemic’s impact on those communities. 55 “Many of the same neighborhoods with

high rates of COVID-19 infections and poor primary care access are low-income neighborhoods

of color and experience higher rates of chronic diseases that are best managed by primary care

providers.” 56 According to data from 36 hospitals in New York, “patients at some community

hospitals were three times more likely to die as patients at medical centers in the wealthiest parts

of the city,” due to vast disparities in available treatments, staffing levels, and supplies. 57

        Although BIPOC communities in New York have experienced disproportionately high

rates of severe illness and death from COVID-19 from the earliest days of the pandemic, those

communities “were not included in vaccine priority plans crafted by the state and city.” 58 For

example, a study showed that “early COVID-19 vaccination efforts in NYC [were] focused

primarily in White, middle-to-upper class neighborhoods, with the greatest access occurring in




53
   M. Komaromy et al., The role of black and Hispanic physicians in providing health care for
underserved populations, 334 New Eng. J. Med. 1305, 1305 (1996), bit.ly/3Lf13Im.
54
   Amanda Dunker & Elisabeth Ryden Benjamin, supra note 14.
55
   David Robinson, Why NY hospital closures, cutbacks made COVID-19 pandemic worse, Times-
Herald Record (Apr. 10, 2020), bit.ly/3snDN1W.
56
   Primary Care Dev. Corp., To Address COVID-19 Disparities, PCDC Urges New York State to
Invest in Primary Care (June 1, 2020), bit.ly/3s18Sts.
57
   Brian M. Rosenthal et al., Why Surviving the Virus Might Come Down to Which Hospital Admits
You, The N.Y. Times (July 1, 2020), https://nyti.ms/3BLmTPr (updated Sept. 22, 2021).
58
   Ethan Geringer-Sameth, Why Didn’t New York’s Hardest Hit Communities Receive Covid
Vaccine Priority?, Gotham Gazette (Jan. 17, 2021), www.gothamgazette.com/state/10075-why-
didnt-new-york-hardest-hit-communities-of-color-covid-vaccine-priority.


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those areas.” 59 The vaccine rollout in New York City was “plagued by stark racial disparities, with

Black and Latino residents receiving far fewer doses than white residents.” 60 Gaps in New York

City’s COVID-19 response policy resulted in inadequate access to COVID-19 testing to

communities of color. 61 A September 2021 study in New York City observed that “racial

disparities in access to [COVID-19] testing remain as of today, despite the need for testing in

communities that experience a large number of essential workers living in crowded realities.” 62

       Treatment options may also be limited in racially segregated communities. Despite

experiencing higher rates of severe illness and death from COVID-19, BIPOC patients have been

less likely than white patients to receive monoclonal antibody therapies (mAb). A recent large-

scale study that included several healthcare facilities in New York found that Latinx, Black, Asian

American, and other patients of color received mAb 58%, 22%, 48%, and 47% less often,

respectively, than white patients. 63 The study concluded that, “as a consequence of [BIPOC

people’s] higher prevalence of preexisting conditions,” the mAb treatment inequity “amplif[ies]

the increased risk for severe COVID-19–associated outcomes, including death among these

groups.” 64 The CDC identified several access-related factors as potential explanations for the



59
   Natasha Williams et al., Assessment of Racial and Ethnic Disparities in Access to COVID-19
Vaccination Sites in Brooklyn, New York, JAMA Network, June 18, 2021, at 3, bit.ly/3oDirwt.
60
   Emma G. Fitzsimmons, Black and Latino New Yorkers Trail White Residents in Vaccine Rollout,
N.Y. Times (Sept. 29, 2021), nyti.ms/34JRD7m.
61
   Wil Lieberman-Cribbin et al., Disparities in COVID-19 Testing and Positivity in New York City,
59 Am. J. Preventive Med. 326 (2020), doi.org/10.1016/j.amepre.2020.06.005; John Kelly &
Stephen Cioffi, Testing centers in many non-white neighborhoods likely to be more crowded,
abc7NY (July 22, 2020), 7ny.tv/3JHf2Ff.
62
   Wil Lieberman-Cribbin et al., Analyzing disparities in COVID-19 testing trends according to
risk for COVID-19 severity across New York City, 21 BMC Pub. Health 1717, at 5 (2021),
bit.ly/3BKU0CZ.
63
   Jennifer L. Wiltz et al., Racial and Ethnic Disparities in Receipt of Medications for Treatment
of COVID-19 — United States, March 2020–August 2021, 71 MMRW 96, 96 (2022),
bit.ly/3scQRal.
64
   Id. at 100.


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documented racial and ethnic inequities in COVID-19 mAb treatment, including “systemic factors

such as limited access to testing and care because of availability constraints, inadequate insurance

coverage, and transportation challenges; lack of a primary care provider to recommend treatment;

variations in treatment supply and distribution; potential biases in prescribing practices; and

limited penetration of messaging in some communities about mAb availability and effectiveness

to prevent disease progression.” 65

            iii.   Working conditions as a social driver of health.

       Racial and ethnic inequities in employment opportunities lead to adverse health outcomes

for several reasons. Overall, individuals in minoritized groups have disproportionately lower-

paying jobs, leaving them with less money to spend on healthcare. 66 They are also more likely to

work in jobs that cannot be done remotely from home, such as health care, service and retail

occupations, and to have longer commute times on public transportation, increasing their exposure

to infectious diseases like COVID-19. 67

       BIPOC individuals are also less likely to hold jobs that provide health insurance, and are

therefore “significantly more likely to be underinsured than the white population.” 68 Many New

Yorkers lost their health coverage during the pandemic, but “African Americans in New York City

reported losing health insurance twice as often,” and “Latinx New Yorkers reported losing health

insurance nearly four times as often,” as white New Yorkers. 69 Researchers have cited social



65
   Jennifer L. Wiltz, supra note 63, at 99.
66
   U.S. Dep’t of Lab., Women’s Bureau, Median annual earnings by sex, race and Hispanic
ethnicity, bit.ly/3rhy5PX (last visited Feb. 23, 2022); see also David R. Williams, Racism and
Health, supra note 50, at 4 (“In 2016, for every dollar of income that white households received,
Hispanics earned 73 cents and blacks earned 61 cents.”).
67
   COVID-19 Policy Playbook, supra note 22, at 12; Equity Indicators, Narrowing the Gap (Vol.
16, Feb. 2017), https://bit.ly/3h2vlzW.
68
   COVID-19 Policy Playbook, supra note 22, at 90.
69
   Amanda Dunker & Elisabeth Ryden Benjamin, supra note 14.


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determinants of health, including lack of paid time off and lack of insurance, as barriers to COVID-

19 vaccine access and accommodations. 70

             iv.   Exposure to racism as a social driver of health.

       Exposure to racial and ethnic discrimination in daily life is a significant social driver of

health. Extensive research has documented that racism itself negatively impacts health over time

through a process called weathering. 71 A review of 138 empirical studies on the health effects of

racism showed a clear link between racism and ill health for oppressed racial groups, even after

adjustment for confounding factors. 72 Another meta-analysis of 293 studies concluded that “racism

is significantly related to poorer health.” 73 In a 2011 study, more than 90% of Black individuals

reported having experienced racial discrimination. 74 Racial discrimination can cause chronic

stress, which, as noted, is linked to a wide array of poor health outcomes. A study found that

exposure to discrimination and segregation during juvenile years predicts adult inflammation by

age 28, and that the effect was “considerably more robust than that of traditional health risk factors

such as diet, exercise, smoking, and low [socioeconomic status].” 75 Racial discrimination need not



70
   Savanna L. Carson et al., COVID-19 Vaccine Decision-making Factors in Racial and Ethnic
Minority Communities in Los Angeles, California, JAMA Network, Sept. 30, 2021,
bit.ly/34UzKCB.
71
   See Arline T. Geronimus et al., “Weathering” and Age Patterns of Allostatic Load Scores
Among Blacks and Whites in the United States, 96 Am. J. Pub. Health 826 (2006),
doi.org/10.2105/AJPH.2004.060749.
72
   Paradies, A systemic review, supra note 39, at 895.
73
   Yin Paradies et al., Racism as a Determinant of Health: A Systematic Review and Meta-Analysis,
PLOS One, Sept. 23, 2015, at 24, doi.org/10.1371/journal.pone.0138511.
74
   Inequality and African-American Health, supra note 24, at 16.
75
   Ronald L. Simons et al., Discrimination, segregation, and chronic inflammation: Testing the
weathering explanation for the poor health of Black Americans, 54 Developmental Psych. 1993,
1994 (2018), doi.org/10.1037/dev0000511; see also Christopher W. Kuzawa & Elizabeth Sweet,
Epigenetics and the embodiment of race: Developmental origins of US racial disparities in
cardiovascular health, 21 Am. J. of Hum. Biology 2, 2 (2009), bit.ly/3pkYoDJ
(“[E]nvironmentally responsive phenotypic plasticity, in combination with . . . acute and chronic



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be intended: “[e]vidence has revealed that unconscious bias in interpersonal interactions is strong,

widespread and deeply rooted, and could potentially take a heavy toll on health.” 76

              v.   Incarceration and homelessness as social drivers of health.

       Incarceration and homelessness are two additional social determinants of health that

disproportionately impact people of color. Black individuals have higher rates of incarceration

than white individuals who commit the same offense. 77 In New York, Black individuals are

imprisoned at a rate that is over three times their percentage of the state’s population. 78 Imprisoned

people are exposed to more infectious diseases and to significant stress, yet prisons rarely “provide

much beyond the most basic medical care.” 79 The increased likelihood of having disease while

imprisoned does not end upon release; a history of incarceration also “strongly increases the

chances of severe health limitations after release.” 80 Prisons have been epicenters of COVID-19

outbreaks since the beginning of the pandemic. 81 Additionally, people experiencing homelessness

in New York experienced higher rates of death from COVID-19 in both congregate shelter and

unsheltered settings. 82 Minoritized people are disproportionately represented among homeless




effects of social-environmental exposures,” better explains the “persistence of [cardiovascular
disease] disparities between members of socially imposed racial categories” than does genetics.).
76
   Paula Braveman et al., supra note 30, at 5.
77
   See, e.g., NAACP, Criminal Justice Fact Sheet, naacp.org/resources/criminal-justice-fact-sheet
(last visited Feb. 23, 2022) (“5% of illicit drug users are African American, yet African Americans
represent 29% of those arrested and 33% of those incarcerated for drug offenses.”).
78
   Division of Criminal Justice Services, NYS Arrests and Prison Sentences by Race/Ethnicity
(June 2019), on.ny.gov/3GFJmhF.
79
   Inequality and African-American Health, supra note 24, at 112.
80
   Id.; see also Elizabeth M. Viglianti et al., Mass Incarceration and Pulmonary Health: Guidance
for Clinicians, 15 Annals Am. Thoracic Soc’y 409, 409–12 (2018), bit.ly/3rvWosf (identifying
lung-related conditions that disproportionately affect incarcerated persons).
81
   See, e.g., Laura Hawks et al., COVID-19 in Prisons and Jails in the United States, 180 JAMA
Int’l Med. 1041, 1041 (2020), bit.ly/3fqrpZb.
82
   Coal. for Homelessness, Age-Adjusted Mortality Rate for Sheltered Homeless New Yorkers,
https://bit.ly/3ByrWSU (last visited Feb. 23, 2022).


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populations. 83

             vi.   Social drivers of health have led to disproportionately high rates of serious
                   illness and death from COVID-19 for BIPOC people.

       Researchers have repeatedly concluded that social determinants of health contribute to

BIPOC peoples’ disproportionate rates of severe illness and death from COVID-19, across the

country and in New York. 84 An individual’s job opportunities and work conditions, access to

healthcare, exposure to racism, and segregated living conditions often go hand in hand, leading to

a cumulative increase in risk of severe illness or death from COVID-19 associated with a person’s

BIPOC race or ethnicity. 85 For an individual, inequitable social determinants of health may

manifest, for instance, in high blood pressure, increased inflammation, and earlier onset of, and




83
     Coal. for Homelessness, Basic Facts About Homelessness: New York City,
https://bit.ly/3h1ZBv2 (last updated Feb. 2022).
84
   See, e.g., Ankur K. Dalsania et al., The Relationship Between Social Determinants of Health and
Racial Disparities in COVID-19 Mortality, 9 J. Racial & Ethnic Health Disparities 288, 294
(2021), bit.ly/3h0hqdT (“Consistent with historical health inequities for Black Americans, our
analysis demonstrates that SDH have contributed to the disproportionate impact of the COVID-19
pandemic on Black Americans.”); Nicholas Verdini et al., Social Determinants of Health Amplify
the Association Between Ethnicity and COVID19: A Retrospective-Cohort study, 9 Int’l J. Med.
Students 282, 282 (2022), doi.org/10.5195/ijms.2021.1125 (“Ethnicity had a significant impact on
COVID-19 status in our population, where the effect of ethnicity on COVID-19 status was
amplified for those with SDOH risk factors.”); Sarah B. Maness et al., Social Determinants of
Health and Health Disparities: COVID-19 Exposures and Mortality Among African American
People in the United States, 136 Pub. Health Reps. 18, 18 (2020), bit.ly/3LJyuCP (“SDH [Social
determinants of health] underlie health disparities that increase the potential for exposure to, and
higher death rates from, COVID-19 among African American people across the United States.”);
Amanda Dunker & Elisabeth Ryden Benjamin, supra note 14; Rima A. Afifi et al., supra note 30;
Rienna G. Russo et al., COVID-19, Social Determinants of Health, and Opportunities for
Preventing Cardiovascular Disease: A Conceptual Framework, J. Am. Heart Ass’n, Dec. 10,
2021, doi.org/10.1161/JAHA.121.022721; see also Christopher T. Rentsch et al., Patterns of
COVID-19 testing and mortality by race and ethnicity among United States veterans: A nationwide
cohort study, PLOS Med., Sept. 22, 2020, at 1, 13, bit.ly/3giLlgV.
85
   See, e.g., Nicholas Verdini et al., supra note 84, at 284 (“The Hispanic population has been
shown to experience discrimination, inadequate healthcare access and utilization, inequities in
education access, wealth gaps, and increased congested housing, all of which increase the risk of
contracting COVID-19.”).


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more severe forms of, medical conditions such as heart disease, thereby compounding the risk of

getting severely ill or dying from COVID-19 in a way that is not captured by consideration of the

presence of heart disease alone. At bottom, “conditions of marginalization led, before COVID-19,

to higher morbidity and mortality among Black Americans, which then resulted in a higher burden

of underlying vulnerability to COVID-19, manifesting in disproportionate disease severity and

death.” 86 The same is true of other minoritized populations. 87

        B.       BIPOC individuals receive lower quality healthcare and reduced access to
                 treatments than whites due to medical racism and bias.

        Racism against BIPOC individuals within the healthcare system also results in adverse

health outcomes and makes race and ethnicity itself, as a proxy for racism, worth consideration,

along with other relevant factors, by medical professionals exercising independent judgment to

determine the appropriate COVID-19 treatment. 88

        Healthcare disparities are “differences in treatment experienced in the quality of healthcare

received by racial and/or ethnic minorities even when access to care is equal.” 89 Numerous studies

show that BIPOC patients receive lower quality treatment by healthcare providers, “even when

variations in such factors as insurance status, income, age, co-morbid conditions, and symptom

expression are taken into account.” 90 The research links these racial and ethnic differences in

treatment to adverse health outcomes for BIPOC individuals. The following sample of racial and

ethnic healthcare inequities illustrates their severity:

             x   Black patients and other minoritized patients are less likely than whites to receive


86
   COVID-19 Policy Playbook, supra note 22, at 13.
87
   See id. at 11–13.
88
   See Press Release by AMA, New AMA policy recognizes racism as a public health threat (Nov.
16, 2020), bit.ly/3L6mXgy.
89
   G.L.A. Harris, Cultural Competence: Its Promise for Reducing Healthcare Disparities, 33 J.
Health & Hum. Servs. Admin. 2, 4 (2010), bit.ly/3ogbEZK.
90
   Unequal Treatment, supra note 37, at 2–3; see also Just Medicine, supra note 24, at 35.


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               preventive care and routine medical procedures. 91

           x   Black patients are treated less for pain than white patients. 92 For example, “sickle-
               cell patients who are in severe pain waited longer in emergency rooms to get pain
               medication than white patients with a similar painful disease (for example, renal
               colic).” 93

           x   Minoritized patients are sometimes denied care due to racially biased algorithms.
               For example, due to racial biases in pulse oximeter technology, Black patients have
               nearly three times the frequency of undetected low oxygen levels than white
               patients, which can negatively impact Black patients’ treatment for COVID-19. 94

           x   Black patients are less likely than white patients to receive kidney transplants.95
               Race-based kidney function adjustments based on false ideas about differences in
               muscle mass have denied Black people access to dialysis and transplants. 96

           x   Doctors are almost twice as likely to refer white patients to a specialist than they
               are to refer Black patients. 97

           x   Black and Latinx individuals are less likely to receive appropriate cardiac
               medication or to undergo cardiac bypass surgery than whites. 98 Although Black
               individuals are three times as likely to develop cardiovascular disease than whites,
               and twice as likely to die from it, they are more likely than whites “to receive older
               conservative coronary treatments than newer or more expensive therapies
               . . . [which are] more readily available to whites.” 99

       Extensive research shows that healthcare inequities are due not to intrinsic clinical factors,

but to exposure to racism within the medical system. 100 One recent study found, for example, that


91
    Unequal Treatment, supra note 37, at 123; Matthew Wynia et al., supra note 24, at 6; Just
Medicine, supra note 24, at 1.
92
   Kelly M. Hoffman et al., Racial bias in pain assessment and treatment recommendations, and
false beliefs about biological differences between blacks and whites, 113 PNAS 4296, 4296
(2016), bit.ly/3h1ZRda; Just Medicine, supra note 24, at 61.
93
   Inequality and African-American Health, supra note 24, at 95.
94
   Michael W. Sjoding et al., Racial Bias in Pulse Oximetry Measurement, 383 New Eng. J. Med.
2477 (2020), doi.org/10.1056/NEJMc2029240.
95
   Id. at 90.
96
    Jennifer Tsai, Jordan Crowley Would Be in Line for a Kidney—if He Were Deemed White
Enough, Slate (June 27, 2021), https://bit.ly/3h5sYfG.
97
   Id. at 91.
98
   Unequal Treatment, supra note 37, at 2–3.
99
   Just Medicine, supra note 24, at 57–58.
100
     See, e.g., Press Release by AMA, supra note 88; Mathieu Rees, Racism in healthcare: What
you need to know, Med. News Today (Sept. 16, 2020), bit.ly/3okjoK6.


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“many white medical students and residents”—73% of the study sample—“hold beliefs about

biological differences between blacks and whites, many of which are false and fantastical in nature,

and that these false beliefs are related to racial bias in pain perception.” 101 Another study found

that among children who visited emergency departments, Black and Latinx children were less

likely to “have their care needs classified as immediate/emergent” and “experienced significantly

longer wait times and overall visits as compared to whites.” 102 The researchers concluded the

“difference could not be fully explained by possible confounding factors available in the dataset,

such as demographic, socioeconomic, or clinical variables.” 103 Additionally, “Black newborns

have significantly lower mortality if they’re cared for by Black doctors rather than white ones.”104

Another study of 495 largely white, male physicians found that they were less likely to prescribe

an aggressive HIV treatment to Black men than white men due to negative racial bias. 105

       In 2007, researchers produced “the first evidence of unconscious (implicit) race bias among

physicians, its dissociation from conscious (explicit) bias, and its predictive validity.” 106 The

researchers concluded that physicians’ implicit bias contributed to racial and ethnic disparities in

the use of medical procedures such as thrombolysis for myocardial infarction. 107 The study also



101
    Kelly M. Hoffman, supra note 92, at 4299.
102
    Xingyu Zhang et al., Racial and Ethnic Disparities in Emergency Department Care and Health
Outcomes Among Children in the United States, Frontiers in Pediatrics, Dec. 19, 2019, at 1,
doi.org/10.3389/fped.2019.00525.
103
    Id. at 5.
104
    Akilah Johnson & Nina Martin, supra note 45; see also Brad Greenwood et al., Physician-
patient racial concordance and disparities in birthing mortality for newborns, 117 PNAS 21194,
21194 (2020), bit.ly/3gkmg5m.
105
    Just Medicine, supra note 24, at 132; see also Laura M. Bogart, Factors Influencing Physicians’
Judgments of Adherence and Treatment Decisions for Patients with HIV Disease, 21 Med.
Decision Making 28, 34 (2001), doi.org/10.1177/0272989X0102100104.
106
    Alexander R. Green et al., Implicit Bias among Physicians and its Prediction of Thrombolysis
Decisions for Black and White Patients, 22 Soc’y of Gen. Internal Med. 1231, 1231 (2007),
bit.ly/3gODyHQ.
107
    Id.


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showed that as physicians’ IAT (implicit bias) scores increased, their likelihood of treating Black

patients with thrombolysis decreased. A 2015 systematic review of 15 studies measuring implicit

bias and health outcomes confirmed that healthcare professionals hold the same level of implicit

bias against Black, Latinx, and dark-skinned people as the general population, and that “implicit

bias was significantly related to patient–provider interactions, treatment decisions, treatment

adherence, and patient health outcomes.” 108 A 2017 systematic review of 37 studies confirmed the

substantial evidence of “pro-White or light-skin/anti-Black, Hispanic, American Indian or dark-

skin bias among a variety of [healthcare professionals] across multiple levels of training and

disciplines.” 109

        Research has shown that a person can “hold strongly negative implicit biases” even where

they express no explicit bias and believe themselves to be race-neutral. 110 Studies show that

implicit bias influences behavior more directly than conscious bias does. 111 The evidence reveals

that “implicit race biases are as prevalent among professionals in the health care industry as they

are among the American public generally.” 112 Most healthcare professionals, like most whites,

“are low in explicit and high in implicit” bias. 113 In other words, many healthcare professionals

unconsciously hold negative biases against BIPOC groups, and these negative biases may cause

them to provide—entirely unintentionally—a lower quality of care to their BIPOC patients than




108
    William J. Hall et al., Implicit Racial/Ethnic Bias Among Health Care Professionals and Its
Influence on Health Care Outcomes: A Systematic Review, 105 Am. J. Pub. Health e60, e60
(2015), http:doi.org/10.2105/AJPH.2015.302903.
109
    Ivy W. Maina et al., A decade of studying implicit racial/ethnic bias in healthcare providers
using the implicit association test, 199 Soc. Sci. & Med. 219, 219 (2018), bit.ly/3rXSGJy.
110
    Just Medicine, supra note 24, at 46.
111
    Id. at 39.
112
    Id. at 41.
113
    Michelle van Ryn et al., The Impact of Racism on Clinician Cognition, Behavior, and Clinical
Decision Making, 8 Du Bois Rev. 199, 204 (2011), doi.org/10.1017/S1742058X11000191.


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they might provide to similarly situated white patients. Research has shown that strategies based

on ignoring group differences do not eliminate bias, whereas making healthcare professionals

aware of their own biases and stereotypes does. 114 Researchers have concluded that

“[i]nterventions targeting implicit attitudes among health care professionals are needed.” 115

        Consistent with this evidence, the CDC has identified “potential biases in prescribing

practices” as one reason for the observed racial and ethnic disparity in mAb treatment. 116 The New

York City Health Department has recognized that “race norming . . . often negatively impacts the

treatment and care for persons of color.” 117 Racism or implicit bias may therefore influence

physicians’ decisions about which patients should receive potentially life-saving treatments.

III.    Because social inequities and racism exacerbate COVID-19 morbidity and mortality
        in minoritized populations, considering a patient’s BIPOC race or ethnicity in
        evaluating their risk of severe progression is justified.

        Contrary to the plaintiff’s assertions, see Pl. Memorandum at 7, as discussed above, a

wealth of evidence supports the Prioritization Guidance’s recommendation that healthcare

providers in exercising their own clinical judgment consider a COVID-19 patient’s BIPOC race

or ethnicity in evaluating risk of progressing to severe symptoms. 118 Although race is a social

construct and not an inherent biologic or genetic trait, as discussed above, BIPOC people

experience higher rates of severe COVID-19 symptoms, hospitalizations, and death from COVID-

19 than white people as a result of myriad factors, including social drivers of health. Moreover,

research shows that, among people who have medical conditions such as heart disease and

diabetes—two of the most common underlying medical conditions among COVID-19 patients—


114
    Just Medicine, supra note 24, at 66–67, 165, 167.
115
    William J. Hall et al., supra note 108, at e60.
116
    Jennifer L. Wiltz, supra note 63, at 99.
117
     NYC Health, Health Department Launches Coalition to Confront Racism in Medical
Algorithms (Nov. 24, 2021), bit.ly/3uVbFpT.
118
    See Prioritization Guidance, supra note 1, at 3.


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BIPOC individuals’ conditions tend to be less well-treated, deadlier, and more severe than white

individuals’. 119 BIPOC COVID-19 patients thus are at an increased risk of developing severe

symptoms that the Prioritization Guidance’s remaining risk factors, such as age and presence of

underlying medical conditions alone, do not account for.

       To illustrate, suppose a Black individual with heart disease and high blood pressure is

eligible for one or more of the COVID-19 treatments during a time of low supply. The

Prioritization Guidance suggests a healthcare provider consider the patient’s heart disease as a risk

factor. 120 But this consideration alone does not capture the likelihood that the Black individual’s

heart condition manifested earlier, and is more severe than, a white individual’s of the same age

with the same condition. Nor does this consideration alone account for the Black individual’s

increased risk of developing heart failure, 121 increased risk of inflammation, or any of the other

increased risks associated with their race that do not apply to a similarly situated white COVID-

19 patient. Given these risks and the increased rates of severe illness and death from COVID-19

associated with BIPOC race or ethnicity, it is appropriate for healthcare professionals to take that

information into account, along with other relevant factors in their clinical judgment, when

evaluating a COVID-19 patient’s risk of progressing to severe illness, including for resource

allocation purposes. 122 “Expanding the definition of ‘most at risk’ [for COVID-19] to include




119
    See supra notes 22–26, 85, 87, 99.
120
     See Prioritization Guidance, supra note 1, at 2 (hyperlinking risk factors to CDC web page
listing risk factors); CDC, People with Certain Medical Conditions, supra note 21 (listing “heart
conditions such as heart failure” as a medical condition that increases a person’s risk of getting
severely ill from COVID-19).
121
     Daniel Pan et al., The impact of ethnicity on clinical outcomes in COVID-19: A systematic
review, EClinicalMedicine, June 3, 2020, at 6, bit.ly/34PffqU.
122
    See Matthew A. Raifman & Julia R. Raifman, Disparities in the Population at Risk of Severe
Illness From COVID-19 by Race/Ethnicity and Income, 59 Am. J. Preventive Med. 137, 137
(2020), doi.org/10.1016/j.amepre.2020.04.003.


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social factors is critical to implementing equitable interventions and saving lives.” 123

       The mechanism by which the Prioritization Guidance recommends healthcare

professionals consider, using their clinical judgment and discretion, a COVID-19 patient’s BIPOC

race or ethnicity—by including it as one of the risk factors for severe illness 124—is justified by

both the strong correlation between BIPOC race or ethnicity and increased rates of severe illness

from COVID-19 as well as the potential influence of racism or implicit bias within the medical

system. In New York, Black persons experience at least twice the rate of death from COVID-19

and at least four times the rate of hospitalization from COVID-19 than white persons. This

increased prevalence is similar to the increase in risk of patients with obesity and patients with a

history of smoking, 125 two other risk factors under the Prioritization Guidance. Medical

practitioners may consider a patient’s race or ethnicity, along with other social determinants of

health, in making treatment decisions where justified by the evidence. For example, the American

College of Obstetricians and Gynecologists and the Society for Maternal-Fetal Medicine’s

recommendations regarding low-dose aspirin prophylaxis for the prevention of preeclampsia




123
    Rima A. Afifi et al., supra note 30, at 1.
124
    Prioritization Guidance, supra note 1, at 3. By its terms, the Prioritization Guidance notes that
“Non-white race or Hispanic/Latino ethnicity should be considered a risk factor.” This brief
provides the court with the current evidence regarding the disproportionately high prevalence and
severity of COVID-19 cases among BIPOC and Latinx people. It should not be read as suggesting
that race in and of itself is a genetic or biologic factor that causes medical risk; rather, as the
Prioritization Guidance itself acknowledges, it is “longstanding systemic health and social
inequities [that] have contributed” to increased prevalence of severe illness and death. Id. at 3.
There are also other ways that may be effective to consider or describe the social consequences of
race and ethnicity.
125
     See Lyudmyla Kompaniyets et al., Body Mass Index and Risk for COVID-19–Related
Hospitalization, Intensive Care Unit Admission, Invasive Mechanical Ventilation, and Death —
United States, March–December 2020, 70 MMWR 355 (2021), bit.ly/34cIXWG; Roengrudee
Patanavanich & Stanton A. Glantz, Smoking is associated with worse outcomes of COVID-19
particularly among younger adults: a systematic review and meta-analysis, BMC Pub. Health ,
Aug. 16, 2021, doi.org/10.1186/s12889-021-11579-x.


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consider “Black race (as a proxy for underlying racism)” a risk factor. 126 However, it is important

to reiterate that race is a social construct, rather than an inherent biological trait, and when race is

described as a risk factor, it is more likely to be a proxy for influences including structural racism

than a proxy for genetics.

       Because racism and implicit racial and ethnic biases are known to inform medical care,

thereby contributing to healthcare disparities and inequities, medical professional associations

such as the American Medical Association have called for “acknowledging the harm caused by

racism and unconscious bias within medical research and health care” and “identifying tactics to

counter racism and mitigate its health effects.” 127 By suggesting that healthcare professionals take

a COVID-19 patient’s race or ethnicity into account, the Prioritization Guidance can help

counteract racism and negative implicit biases against people of color that might otherwise

inappropriately influence healthcare professionals’ prioritization decisions. Incorporating equity

into “scarce resource allocation protocols,” as the Prioritization Guidance does, also accords with

researchers’ and CDC’s recommendations, 128 and medical professional organizations’ principles

of patient-centered care. 129 COVID-19’s disproportionate impact on BIPOC individuals is,

moreover, an issue of public health. Allocating treatment to those known to have the most adverse




126
    Am. Coll. of Obstetricians & Gynecologists, Practice Advisory: Low-Dose Aspirin Use for the
Prevention of Preeclampsia and Related Morbidity and Mortality (Dec. 2021), bit.ly/3IZIKom.
127
    Press Release by AMA, supra note 88; see also Am. Acad. of Fam. Physicians, Institutional
Racism in the Health Care System, https://bit.ly/3sctuPs (last visited Feb. 23, 2022).
128
    COVID-19 Policy Playbook, supra note 22, at 162; see, e.g., id.; Anna M. Acosta, supra note
18; CDC, COVID-19 Racial and Ethnic Health Disparities, https://bit.ly/3AVhrZv (updated Dec.
10, 2020).
129
    See, e.g., Am. Coll. of Obstetricians and Gynecologists, Importance of Social Determinants of
Health and Cultural Awareness in the Delivery of Reproductive Health Care, ACOG Committee
Opinion No. 729, 131 Obstetrics & Gynecology e43, e44 (2018), bit.ly/3GqzlVc (“A patient-
centered approach to care recognizes the role of . . . historical and contemporary forces in clinical
encounters.”).


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outcomes will alleviate the crisis of hospital overcrowding and demands on our healthcare

system. 130

        Indeed, if medical professionals fail to consider BIPOC individuals’ increased risk of

getting severely ill or dying from COVID-19, along with other relevant factors, in prioritizing

COVID-19 treatments during times of low supply, that would likely result in BIPOC COVID-19

patients continuing to get severely ill and to die from COVID-19 at disproportionately higher rates

relative to white patients; in effect, their risk would be underappreciated. Only by accounting for

the increased risk of severe illness from COVID-19 that BIPOC individuals face will their assigned

risk group accurately reflect their level of risk. 131

                                            CONCLUSION

        For the reasons stated above and in Defendant’s filings, Amici urge this Court to deny

Plaintiff’s motion for a preliminary injunction and grant Defendant’s motion to dismiss.



                                                         Respectfully submitted,

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                                                         Counsel for Amici Curiae

130
    See Sharon Otterman & Joseph Goldstein, More Patients, Fewer Workers: Omicron Pushes
New York Hospitals to Brink, NY Times (Jan. 7, 2022), nyti.ms/3HqmMe5.
131
    See also Anna M. Acosta, supra note 18, at 2 (“Equitable access to COVID-19 preventive
measures, including vaccination, is needed to minimize the gap in racial and ethnic disparities of
severe COVID-19.”).


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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 23, 2022, a true and accurate copy of the foregoing

motion was electronically filed with the Court using the CM/ECF system. Service on counsel

for all parties will be accomplished through the Court’s electronic filing system.


                                                        /s/ Rachel L. Fried

Date: February 23, 2022




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